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7                                  UNITED STATES BANKRUPTCY COURT
8                                  CENTRAL DISTRICT OF CALIFORNIA
9                                          RIVERSIDE DIVISION
10

11
                                                              Case No.: 6:21-bk-15024-WJ
12   In re:
13

14   JOSE L GRANADOS and
                                                              DECLARATION OF DEBTORS
15   VICTORIA ANN GUTIERREZ VAUGHN
                                                              REGARDING SECURED DEBT
16                                                            PAYMENT HISTORY

17
                                                              Confirmation Hearing
18                                                            Date: September 26, 2022
                                                              Time: 11:00 a.m.
19                                                            Crtm: Courtroom 302
                                                                      United States Bankruptcy Court
20                                                                    Central District of California
                                                                      3420 Twelfth Street
21                                                                    Riverside, CA 92501

22

23
        DECLARATION OF JOSE L GRANADOS AND VICTORIA ANN GUTIERREZ VAUGHN
24
     We, Jose Granados and Victoria Ann Gutierrez Vaughn, declare:
25

26       1. We are the debtors in this Chapter 13 bankruptcy case filed on September 21, 2021 (converted

27            from a Chapter 7).
28



                                                          1

                                       Secured Debt Payment History Declaration
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       2. The assets in this bankruptcy case include the real property located at the following street
1

2          address: 6158 Royal Diamond Ct., Corona, CA 92880 ( Property ). We have listed the

3          Property on Schedule A with a value of $723,000.00.
4
       3. The Property is our current residence.
5
       4. The Property is encumbered by the following deeds of trust:
6

7
              a. First deed of trust in favor of Shellpoint.

8                       i. The current amount owed is $426,200.00.
9                      ii. The monthly mortgage payment is currently $3,545.25. The payment
10
                            decreased to $3,432.39 as of June 2022 either because there was an extra
11
                            payment in April of 2022 or an escrow surplus.
12

13                     iii. The unpaid, accrued arrearage is $0.00.

14            b. Second deed of trust in favor of Real Time Resolutions, Inc.
15
                        i. The current amount owed is $97,985.75.
16
                       ii. The monthly mortgage payment is currently $742.30 starting November 2021.
17
                       iii. The unpaid, accrued arrearage is $0.00.
18

19     5. During Each of the months listed below, we made the following payments:

20
                    Month                      Amount paid to                               Amount Paid to
21
                                                 1st Lienholder                             2nd Lienholder
22     October 2021                      3545.25                                   694.83
23     November 2021                     3545.25                                   742.30

24     December 2021                     3545.25                                   742.30

25     January 2022                      3545.25                                   742.30

26
       February 2022                     3545.25                                   742.30

27
       March 2022                        3545.25                                   742.30
       April 2022                        3545.25                                   742.30
28
                                         3545.25

                                                           2

                                        Secured Debt Payment History Declaration
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